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             5
               Attorneys for Defendant Chapman
             6 University
             7
             8                       UNITED STATES DISTRICT COURT
             9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
           10
           11 JOHN C. EASTMAN,                            Case No. 8:22-cv-00099-DOC-DFM
              c/o Burnham & Gorokhov, PLLC
           12 1424 K Street NW, Suite 500                 DEFENDANT CHAPMAN
              Washington, D.C. 20005,                     UNIVERSITY’S REQUEST TO
           13                                             APPEAR VIRTUALLY AT THE
                           Plaintiff,                     MARCH 8, 2022 HEARING RE:
           14                                             PRIVILEGE ISSUES
                     v.
           15                                             Date: March 8, 2022
              BENNIE G. THOMPSON, in his                  Time: 9:00 a.m.
           16 official capacity as Chairman of the
              House Select Committee to Investigate       Judge:            Hon. David O. Carter
           17 the January 6 Attack on the United          Magistrate Judge: Hon. Douglas F.
              States Capitol; Rayburn House Office        McCormick
           18 Building, 2466, Washington, DC 20515        Crtrm.:           9D
                                                          Trial Date:       not set
           19 SELECT COMMITTEE TO
              INVESTIGATE THE JANUARY 6TH
           20 ATTACK ON THE UNITED STATES
              CAPITOL
           21
              CHAPMAN UNIVERSITY, 1
           22 University Dr. Orange, CA 92866,
           23                Defendants.
           24
           25         TO THE COURT AND THE PARTIES OF RECORD:
           26         Fred M. Plevin, counsel for Defendant Chapman University, respectfully
           27 requests to appear virtually at the Status Conference currently set for March 8, 2022,
           28 at 9:00 a.m.
  PAUL, PLEVIN,
   SULLIVAN &     DEFENDANT CHAPMAN UNIVERSITY’S REQUEST TO APPEAR VIRTUALLY AT THE MARCH 8, 2022
CONNAUGHTON LLP                           HEARING RE: PRIVILEGE ISSUES
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             1        I have previously requested to appear remotely in this matter due to my
             2 recovery from total knee replacement surgery in December 2021, and the Court has
             3 granted both prior requests.
             4        My recovery is progressing and I did not ask the Court to appear remotely for
             5 the March 8, 2022 hearing because I believed all other counsel would attend in
             6 person and I could likely tolerate the driving and walking required to attend in
             7 person. However, today the Court granted the requests of all other counsel in the
             8 case to appear remotely. The March 8, 2022 hearing will focus on arguments and
             9 issues raised between the Plaintiff and the House Defendants. Chapman University
           10 was not required to, and did not, file any briefing for the hearing. As with the last
           11 hearing in this case, I do not anticipate that I will be an active participant in the
           12 hearing or offer any arguments to the Court on behalf of Chapman University.
           13         In addition, I have trial call for a jury trial in San Diego Superior Court on
           14 March 11, 2022, and having to spend a half-day or more to attend the hearing on
           15 March 8 in person would be a hardship for me with respect to my ability to prepare
           16 for my trial.
           17         For these reasons, I request that the Court grant my request to appear
           18 remotely for the March 8, 2022 hearing.
           19         Respectfully Submitted,
           20 Dated: March 4, 2022                  PAUL, PLEVIN, SULLIVAN &
                                                    CONNAUGHTON LLP
           21
           22
                                                    By:         /s/ Fred M. Plevin
           23
                                                          FRED M. PLEVIN
           24                                             Attorneys for Defendant Chapman
           25                                             University

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           27
           28
  PAUL, PLEVIN,
                                                           2
   SULLIVAN &     DEFENDANT CHAPMAN UNIVERSITY’S REQUEST TO APPEAR VIRTUALLY AT THE MARCH 8, 2022
CONNAUGHTON LLP                               STATUS CONFERENCE
